AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:11-cr-20362-DPH-RSW ECF No. 15 filed 08/08/12
        Sheet 1
                                                                                            PageID.176      Page 1 of 6
                                                                                                       Judgment-Page 1 of 6



                                            United States District Court
                                                  Eastern District of Michigan
                    United States of America                        JUDGMENT IN A CRIMINAL CASE
                               V.
                     ASHOK BADHWAR                                  Case Number: 11CR20362-1
                                                                    USM Number: 46094-039

                                                                    Aziz Khondker
                                                                    Defendant's Attorney


THE DEFENDANT:
    Pleaded guilty to count(s) 1.
The defendant is adjudicated guilty of these offenses:
Title & Section          Nature of Offense                                                 Offense Ended       Count
42 USC 7413 (c)(1) and 2 Clean Air Act                                                     12/2008             1

  The defendant is sentenced as provided in pages 2 through 6 of this judgment. This sentence is imposed pursuant to the
Sentencing Reform Act of 1984

   It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    July 16, 2012
                                                                    Date of Imposition of Judgment




                                                                  s/Denise Page Hood
                                                                 _________________________________________
                                                                  United States District Judge



                                                                    August 8, 2012
                                                                    Date Signed
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:11-cr-20362-DPH-RSW ECF No. 15 filed 08/08/12
        Sheet 4- Probation
                                                                                         PageID.177        Page 2 of 6
                                                                                                       Judgment-Page 2 of 6
DEFENDANT: ASHOK BADHWAR
CASE NUMBER: 11CR20362-1
                                                        PROBATION
The defendant is hereby sentenced to probation for a term of: 2 years.
  The defendant shall not commit another federal, state or local crime.
  If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two
periodic drug tests thereafter, as determined by the court. Revocation of Probation is mandatory for possession of a controlled
substance.
    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse.
  If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
  the Schedule of Payments sheet of this judgment.
  The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.
                                        STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
  five days of each month;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
  officer;
  4) the defendant shall support his or her dependents and meet other family responsibilities;
  5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
  or other acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
  controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
  convicted of a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
  confiscation of any contraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
  enforcement officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
  without the permission of the court;
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
  defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
  notifications and to confirm the defendant's compliance with such notification requirement; and
  14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
  supervised release is mandatory for possession of a firearm.
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:11-cr-20362-DPH-RSW ECF No. 15 filed 08/08/12
        Sheet 4C - Probation
                                                                                        PageID.178          Page 3 of 6
                                                                                                        Judgment-Page 3 of 6
DEFENDANT: ASHOK BADHWAR
CASE NUMBER: 11CR20362-1

                      SPECIAL CONDITIONS OF SUPERVISION UNDER PROBATION
    The defendant shall participate in the home confinement program for a period of 90 daysThe defendant will maintain a
  telephone at his/her place of residence without "call forwarding," a modem, "Caller ID," "call waiting," or portable cordless
  telephones for the above period. At the direction of the probation officer, the defendant shall wear an electronic monitoring
  device and follow electronic monitoring procedures as specified by the probation officer. The defendant shall pay the costs of
  electronic monitoring.

    The defendant shall make monthly payments on any remaining balance of the:fine at a rate and schedule recommended by
  the Probation Department and approved by the Court.
    The defendant shall not incur any new credit charges or open additional lines of credit without the approval of the probation
  officer.
     The defendant shall provide the probation officer access to any requested financial information.
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:11-cr-20362-DPH-RSW ECF No. 15 filed 08/08/12
        Sheet 5 - Criminal Monetary Penalties
                                                                                              PageID.179         Page 4 of 6
                                                                                                            Judgment-Page 4 of 6
DEFENDANT: ASHOK BADHWAR
CASE NUMBER: 11CR20362-1

                                                  CRIMINAL MONETARY PENALTIES
                             Assessment                      Fine                                 Restitution
TOTALS:                      $ 100.00                        $ 10,000.00                          $ 0.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                         Total Loss*              Restitution Priority or
                                                                                                 Ordered Percentage
    TOTALS:                                                  $ 0.00                  $ 0.00

The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      the interest requirement is waived for the fine




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:11-cr-20362-DPH-RSW ECF No. 15 filed 08/08/12
        Sheet 5A - Criminal Monetary Penalties
                                                                                    PageID.180   Page 5 of 6
                                                                                             Judgment-Page 5 of 6
DEFENDANT: ASHOK BADHWAR
CASE NUMBER: 11CR20362-1

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
The fine is joint and several with co-defendant Glo Wrecking Company 11-20362-02.
AO245B [Rev. 12/03] Judgment in a Criminal Case
              Case 2:11-cr-20362-DPH-RSW ECF No. 15 filed 08/08/12
        Sheet 6 - Schedule of Payments
                                                                                                     PageID.181           Page 6 of 6
                                                                                                                     Judgment-Page 6 of 6
DEFENDANT: ASHOK BADHWAR
CASE NUMBER: 11CR20362-1

                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
Unless the court has expressly ordered otherwise in the special instructions above, while in custody, the defendant shall
participate in the Inmate Financial Responsibility Program. The Court is aware of the requirements of the program and approves
of the payment schedule of this program and hereby orders the defendant's compliance. All criminal monetary penalty payments
are to be made to the Clerk of the Court, except those payments made through the Bureau of Prison's Inmate Financial
Responsibility Program.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
